    Case 1:12-cr-00323-WSD-CMS Document 17 Filed 01/03/13 Page 1 of 4




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

UNITED STATES OF AMERICA                  :
                                          :     CRIMINAL ACTION
                                          :
           v.                             :     NO. 1:12-CR-323-WSD-ECS
                                          :
EDWARD K. KIM,                            :
                                          :
                   Defendant.             :

                CONSENT PRELIMINARY ORDER OF FORFEITURE

     The   Court     having   accepted   the   guilty   plea   of   Defendant

Edward K. Kim to Count Six of the Indictment, pursuant to which

the Government sought forfeiture of certain property under 18

U.S.C. § 924(d) and 28 U.S.C. § 2461(c), and the Court having

determined, based upon the Defendant’s guilty plea, that the

property described below is subject to forfeiture pursuant to 18

U.S.C. § 924(d) and 28 U.S.C. § 2461(c), that the Government has

established the requisite nexus between said property and the

offense    charged    in   Count   Six   of    the   Indictment,    and   the

Defendant having consented to this Consent Preliminary Order of

Forfeiture becoming final as to him, being made a part of his

sentence and being included in the judgment against him;

     IT IS HEREBY ORDERED that the Defendant shall forfeit to

the Government the following property, pursuant to 18 U.S.C. §
      Case 1:12-cr-00323-WSD-CMS Document 17 Filed 01/03/13 Page 2 of 4




924(d) and 28 U.S.C. § 2461(c), as property involved in the

commission of the offense to which he pleaded guilty:

      a.      .38    caliber     Smith     &     Wesson       revolver,    serial      no.

              D328969;

      b.      Assorted ammunition.

      IT IS HEREBY ORDERED that upon entry of this order, the

United States Attorney General, or his designee, is authorized

to seize the above-listed property in accordance with Fed. R.

Crim. P. 32.2(b)(3).

      The United States shall publish notice of this Order and

its intent to dispose of the property in accordance with Fed. R.

Crim.    P.   32.2(b)(6)        and   in   such       a    manner   as    described      in

Supplemental Rule G(4)(a)(iii) and (iv) of the Federal Rules of

Civil Procedure. The United States shall send written notice, in

accordance      with     Supplemental          Rule       G(4)(b)(iii)-(v),       to   any

person who reasonably appears to be a potential claimant with

standing to contest the forfeiture of the above-listed property

in the ancillary proceeding.

      Pursuant to 21 U.S.C. § 853(n)(2), as incorporated by 28

U.S.C. § 2461(c), any person, other than the named Defendant,

asserting a legal interest in the property may within thirty

days of the final publication of the notice or their receipt of

the   notice,       whichever    is   earlier,        petition      the   Court    for   a
     Case 1:12-cr-00323-WSD-CMS Document 17 Filed 01/03/13 Page 3 of 4




hearing   without     a   jury     to   adjudicate     the     validity      of   their

alleged interest in the property and for an amendment to the

order   of    forfeiture.     Any       petition     filed    by     a    third   party

asserting an interest in the property shall be signed by the

petitioner    under   penalty      of    perjury     and     shall   set    forth    the

nature and extent of the petitioner’s right, title or interest

in the property, the time and circumstance of the petitioner’s

acquisition    of   the   right,        title   or   interest,       any    additional

facts supporting the petitioner’s claim and the relief sought.

     After the disposition of any motion filed under Fed. R.

Crim. P. 32.2(c)(1)(A) and before a hearing on the petition,

discovery may be conducted in accordance with the Federal Rules

of   Civil    Procedure     upon    a     showing     that    such       discovery   is

necessary or desirable to resolve factual issues.

     The United States shall have clear title to the property

following the Court’s disposition of all third-party interests

or if none, following the expiration of the period provided in

21 U.S.C. § 853(n)(2) for the filing of third-party petitions.

The Court shall retain jurisdiction to enforce this order and to

amend it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).
       Case 1:12-cr-00323-WSD-CMS Document 17 Filed 01/03/13 Page 4 of 4




       IT IS FURTHER ORDERED that, pursuant to Fed. R. Crim. P.

32.2(b)(4), this Preliminary Order of Forfeiture is hereby final

as to the Defendant.         If no third party filed a timely claim,

this    order   shall   become   the   final   order   of   forfeiture,    as

provided by Fed. R. Crim. P. 32.2(c)(2).



       SO ORDERED this              day of                  , 2013.




                                          WILLIAM S. DUFFEY, JR.
                                          UNITED STATES DISTRICT JUDGE


Presented by:

/s/ Dahil D. Goss
DAHIL D. GOSS
ASSISTANT U.S. ATTORNEY
GEORGIA BAR NO. 302905



Consented to:


/s/ Matthew Dodge by Dahil Goss with express permission
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